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- BELLAMY BOAT PARTNERSHIP, RICHARD

THE HONORABLE SHARON L. GLEASON

John E. Casperson

HOLMES WEDDLE & BARCOTT, P.C.
999 Third Avenue, Suite 2600

Seattle, Washington 98104

Telephone: (206) 292-8008

Facsimile: (206) 340-0289

Email: icasperson@hwb-law.com

Attorneys for Plaintiff

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF ALASKA
NERKA TRANSPORT LLC,
Plaintiff,
v.
WAMSER, an individual, and THE ST. PAUL IN ADMIRALTY
FIRE AND MARINE INSURANCE
COMPANY,

Defendants. Case No. 3:13-cv-0048-SLG

 

 

 

NOTICE OF VOLUNTARY DISMISSAL OF
DEFENDANTS RICHARD WAMSER AND THE ST. PAUL FIRE
AND MARINE INSURANCE COMPANY

COMES NOW plaintiff NERKA TRANSPORT LLC, and provides this Court With
notice of the voluntary dismissal of defendants RICHARD WAMSER and ST. PAUL
FIRE and MARINE INSURANCE COMPANY from this lawsuit, pursuant to this

Court’s order, dated as of May 22, 2013. Docket #8.

NOTICE OF VOLUNTARY DISMlSSAL

Nerka Transport LLC v Bellamy Boat Partnership, et al. HOLMES WEDDLE & BARCOTT, PC
case No. 13 3-cv-0048- SLG Page 1 ofz 99§*"§§§5@‘¢§"§§]§§§§$$°°

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DATED this 23rd day of May, 2013.

HOLMES WEDDLE & BARCOTT, P.C.

s/ John E. Casnerson
John E. Casperson, ABA #7910076
999 Third Avenue, Suite 2600
Seattle, Washington 98104
Telephone: (206) 292-8008
Facsimile: (206) 340-0289
Email: icasoerson@hwb-law.com
Attorney for Plaintiff

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NOTICE OF VOLUNTARY DISMISSAL

Nerka Transport LLC v. Bellamy Boat Partnership, et al.

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